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 1   GREENBERG TRAURIG, LLP
     Brent D. Sokol (SBN 167537)
 2   sokolb@gtlaw.com
     Lisa C. McCurdy (SBN 228755)
 3   mccurdyl@gtlaw.com
     1840 Century Park East, Suite 1900
 4   Los Angeles, CA 90067
     Tel: (310) 586-7700
 5   Fax: (310) 586-7800
 6   Rose Cordero Prey (NY SBN 4326591)
     pro hac vice admission pending
 7   preyr@gtlaw.com
     Jonathan D. Ball (NY SBN 4137907)
 8   pro hac vice admission pending
     ballj@gtlaw.com
 9   Giancarlo L. Scaccia (NY SBN 5440375, NJ SBN 175942015)
     pro hac vice admission pending
10   scacciag@gtlaw.com
     GREENBERG TRAURIG, LLP
11   One Vanderbilt Avenue
     New York, NY 10017
12   Tel: (212) 801-9200
     Fax: (212) 801-6400
13
     Attorneys for Plaintiffs
14

15
                                UNITED STATES DISTRICT COURT
16
                           SOUTHERN DISTRICT OF CALIFORNIA
17
                                      SAN DIEGO DIVISION
18

19
                                                          '22CV676 RBM MSB
     FATE THERAPEUTICS, INC. and               CASE NO. _____________________
20   WHITEHEAD INSTITUTE FOR
     BIOMEDICAL RESEARCH,                      COMPLAINT FOR PATENT
21                                             INFRINGEMENT
           Plaintiffs,
22
     v.                                        JURY TRIAL DEMANDED
23
     SHORELINE BIOSCIENCES, INC. and
24   DAN S. KAUFMAN,
25         Defendants.
26

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 1         Plaintiffs Fate Therapeutics, Inc. (“Fate Therapeutics”) and Whitehead Institute for
 2   Biomedical Research (“Whitehead Institute”) bring this Complaint for monetary and
 3   declaratory relief against Defendants Shoreline Biosciences, Inc. (“Shoreline”) and Dan S.
 4   Kaufman, M.D., Ph.D. to address Defendants’ infringement of Plaintiffs’ patented
 5   technology.
 6                                 NATURE OF THE ACTION
 7         1.      This action arises under the patent laws of the United States, 35 U.S.C. § 1 et
 8   seq., based on Defendants infringement of United States Patent Nos. 8,071,369 (“the ’369
 9   Patent”), 8,932,856 (“the ’856 Patent”), 8,951,797 (“the ’797 Patent”), 8,940,536 (“the ’536
10   Patent”), 9,169,490 (“the ’490 Patent”), 10,457,917 (“the ’917 Patent”) (collectively, “the
11   Asserted Patents”). True and correct copies of the Asserted Patents are attached hereto as
12   Exhibits A, B, C, D, E, and F, respectively.
13         2.      This action concerns Plaintiffs’ groundbreaking research tool—a proprietary,
14   human induced pluripotent stem cell (“iPSC”) platform that enables creation of genetically
15   engineered, clonal master cell lines. Using this foundational technology, researchers can
16   determine the fate of clonal master iPSC lines to produce, for example, well-defined and
17   uniformly composed immunotherapy cells that can be used for a variety of cell therapies.
18         3.      Fate Therapeutics’ natural killer immunotherapy cells derived from induced
19   pluripotent stem cells are highly efficacious in the treatment of cancer patients. For
20   example, Fate Therapeutics’ FT596 natural killer immunotherapy cells have shown
21   dramatic results in the treatment of B-Cell lymphoma. Exhibit G, December 13, 2021 Fate
22   Therapeutics Press Release.
23         4.      This proprietary iPSC platform belongs to Plaintiffs, as do the Asserted Patents
24   covering the exclusive right to use this platform.
25         5.      Shoreline, through at least the actions of its founder and former Scientific
26   Advisor to Fate Therapeutics, Dr. Kaufman, as well as Dr. Kaufman, individually, infringe
27   the Asserted Patents.
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 1         6.     On information and belief, while under exclusivity obligations to Fate
 2   Therapeutics as its Scientific Advisor, Dr. Kaufman secretly founded, participated in,
 3   advised and served as a director for his own rival company, Shoreline. On information and
 4   belief, to generate investor interest quickly and compete against Fate Therapeutics,
 5   Shoreline and Dr. Kaufman used and continue to use Plaintiffs’ iPSC platform to generate
 6   induced pluripotent cells that are subsequently differentiated for use in cancer
 7   immunotherapies. Indeed, Dr. Kaufman founded Shoreline to develop and use competing
 8   “off-the-shelf” allogeneic natural killer immunotherapy cells derived from induced
 9   pluripotent stem cells.
10         7.     On information and belief, in violation of his exclusivity agreement with Fate
11   Therapeutics, and while still serving as Fate Therapeutics’ Scientific Advisor, Dr. Kaufman
12   helped his rival company raise investment funds and pursue strategic partnerships. On
13   information and belief, Dr. Kaufman concealed and misled Fate Therapeutics as to his
14   activities for and participation in Shoreline despite a contractual duty to disclose them.
15         8.     When Shoreline’s existence came to light, Fate Therapeutics informed Dr.
16   Kaufman that he was in breach of his exclusivity obligations and demanded that he
17   “immediately terminate his relationship” with Shoreline. On information and belief, Fate
18   Therapeutics’ efforts did not deter Dr. Kaufman from breaking his promises to Fate
19   Therapeutics; they caused Dr. Kaufman to escalate. On information and belief, instead of
20   terminating his relationship with Shoreline, Dr. Kaufman helped Shoreline raise over $43
21   million in investor funds, including from Kite Pharma, Inc. On information and belief, Dr.
22   Kaufman also helped Shoreline pursue strategic partnerships to develop “off-the-shelf”
23   allogeneic natural killer immunotherapy cells derived from induced pluripotent stem cells
24   with BeiGene, Ltd. and Kite Pharma, Inc. valued at over $4 billion.
25         9.     Industry news, republished on the Shoreline website, explains the significance
26   of Dr. Kaufman to the Kite transaction: “Kite…selected Shoreline as its strategic partner
27   for a strategic expansion into allogeneic iPSC therapies based around NK cells, in [sic] due
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 1   to the expertise of the laboratory of Dan S. Kaufman, MD, PhD, a UCSD investigator and
 2   Shoreline co-founder, who serves as the company’s Chief Scientific Officer.” Exhibit H,
 3   November 8, 2021 GeneEdge article [republished on the Shoreline website
 4   www.shorelinebio.com].
 5         10.    Only through the unauthorized and infringing use of Plaintiffs’ breakthrough
 6   iPSC platform were Defendants able to develop “off-the-shelf” allogeneic natural killer
 7   immunotherapy cells derived from induced pluripotent stem cells within months of creation,
 8   earning them over $4 billion in funding to date. All of this was a benefit that Shoreline
 9   enjoyed from its and Dr. Kaufman’s choice to use Plaintiffs’ iPSC platform.
10         11.    This action follows because Defendants made the deliberate decision to
11   infringe Plaintiffs’ valuable intellectual property and infringe its patents to gain, inter alia,
12   a commercial head start.
13                                         THE PARTIES
14         12.    Plaintiff Fate Therapeutics, Inc. is a corporation organized and existing under
15   the laws of Delaware, with its principal place of business at 12278 Scripps Summit Drive,
16   San Diego, CA 92131.
17         13.    Fate Therapeutics is a clinical-stage biopharmaceutical company dedicated to
18   the development of first-in-class cellular immunotherapies for patients with cancer. Fate
19   Therapeutics’ mission statement includes the tenet that better cell therapies start with better
20   cells. To produce better cell therapies, Fate Therapeutics’ proprietary product platform is
21   uniquely designed to overcome numerous limitations associated with the production of cell
22   therapies using patient- or donor-sourced cells, which is logistically complex, expensive,
23   and subject to variability that can affect clinical safety and efficacy.
24         14.    Fate Therapeutics engineers human iPSCs in a one-time genetic modification
25   event and selects a single engineered iPSC for maintenance as a clonal master iPSC line.
26   Clonal master iPSC lines are a renewable source for manufacturing cell therapy products
27   that are well-defined and uniform in composition, can be mass produced at significant scale
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 1   in a cost-effective manner, and can be delivered “off-the-shelf” for patient treatment.
 2         15.    Fate Therapeutics’ cell therapy product candidate pipeline is comprised of
 3   immuno-oncology programs, including off-the-shelf NK- and T-cell product candidates,
 4   that synergize with well-established cancer therapies and target tumors.
 5         16.    Fate Therapeutics has an exclusive license to the Asserted Patents, including
 6   the right to sue for infringement.
 7         17.    Plaintiff Whitehead Institute for Biomedical Research is a world-renowned
 8   non-profit research institution dedicated to improving human health through basic
 9   biomedical research. Whitehead Institute is a Delaware corporation, with a principal office
10   at 455 Main Street, Cambridge, MA 02142.
11         18.    Whitehead Institute is the owner and assignee of the Asserted Patents and
12   exclusively licensed the Asserted Patents to Fate Therapeutics.
13         19.    On information and belief, Defendant Shoreline Biosciences, Inc. is a
14   corporation organized and existing under the laws of Delaware, with its principal place of
15   business at 11408 Sorrento Valley Road, San Diego, CA 92121.
16         20.    On information and belief, Defendant Dr. Kaufman is a co-founder, director,
17   and participant in Shoreline. On information and belief, Dr. Kaufman secretly founded,
18   participated in, advised and served as a director for Shoreline while serving as a Scientific
19   Advisor to Fate Therapeutics.
20         21.    On information and belief, Dr. Kaufman resides in this District.
21         22.    In his and Shoreline’s acts of infringement, Dr. Kaufman was the agent,
22   servant, co-conspirator, or employee of Shoreline, and the acts and omissions herein alleged
23   were done or caused by them, acting individually, in concert, and/or through or by their
24   alleged capacity, within the scope of their authority. Each of the Defendants aided and
25   abetted and rendered substantial assistance in the accomplishment of the acts complained
26   of herein. In taking the actions, as particularized herein, to aid and abet and substantially
27   assist in the commission of the misconduct complained of, each Defendant acted with an
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 1   awareness of his, her or its primary wrongdoing and realized that his, her or its conduct
 2   would substantially assist in the accomplishment of that misconduct and was aware of his,
 3   her or its overall contribution to, and furtherance of the conspiracy, common enterprise, and
 4   common course of conduct. Defendants’ acts of aiding and abetting included, inter alia, all
 5   the acts each Defendant is alleged to have committed, individually or in concert, in
 6   furtherance of the conspiracy, common enterprise, and common course of conduct
 7   complained of herein.
 8         23.    On information and belief, Dr. Kaufman also performed the infringing acts
 9   described herein including by manufacturing iPSCs with the claimed compositions or
10   according to the claimed methods of the Asserted Patents, individually and for his own
11   personal benefit and/or outside the scope of his agency or employment.
12                               JURISDICTION AND VENUE
13         24.    This is an action for patent infringement arising under the patent laws of the
14   United States, 35 U.S.C. § 271.
15         25.    This Court has subject matter jurisdiction over this action under 28 U.S.C. §§
16   1331, 1332 and 1338(a).
17         26.    This Court has personal jurisdiction over Defendants because they regularly
18   conduct business within, and specifically direct their business activities to, the State of
19   California and the Southern District of California (“this District”). Defendants have
20   purposefully availed themselves of the opportunity to conduct business in this State through
21   systematic and continuous dealings in this State.
22         27.    Defendants’ actions that give rise to personal jurisdiction include but are not
23   limited to the following: making and using infringing products in this State and in this
24   District, knowing and intending that the infringing products would be used in this District,
25   deriving substantial revenue from the use of infringing products within this District, and
26   expecting their infringing actions to have consequences in this District.
27         28.    This Court also has personal jurisdiction over Dr. Kaufman because he is
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 1   domiciled in this District.
 2         29.    Venue is proper as to Defendants under 28 U.S.C. § 1400(b). Defendants have
 3   committed, induced others to commit, or contributed to others committing, acts of
 4   infringement in this District, including by residing in and/or having a regular and
 5   established place of business in this District at, for example, 11408 Sorrento Valley Road,
 6   San Diego, CA 92121.
 7                                 FACTUAL ALLEGATIONS
 8         A.     Induced Pluripotent Stem Cells
 9         30.    Induced pluripotent stem cells (“iPSCs”) are pluripotent stem cells generated
10   from adult somatic cells by reprogramming. iPSCs have the same beneficial properties as
11   embryonic stem cells, without the associated drawbacks, and therefore self-renew and can
12   differentiate into all cell types of the body. iPSCs can enable the development of an
13   unlimited source of any type of human cell needed for therapeutic purposes. For example,
14   iPSC can be prodded into becoming beta islet cells to treat diabetes, blood cells to create
15   new blood free of cancer cells for a leukemia patient, or neurons to treat neurological
16   disorders.
17         31.    Four specific genes—cMYC, OCT3/4, SOX2 and KLF4—encoding
18   transcription factors play a role in converting or reprograming somatic cells into pluripotent
19   stem cells. Of these four transcription factors, OCT4 is the most critical. OCT4 serves as a
20   master regulator, playing an integral role in maintaining pluripotency and establishing
21   the inner cell mass during development. OCT4 is expressed in the cell from nucleic acid
22   encoding the OCT4 transcription factor. In fact, use of the exogenous OCT4 transcription
23   factor (as opposed to nucleic acid encoding OCT4) is insufficient for producing viable,
24   healthy, bona fide human iPSCs. And although SOX2, KLF4, and cMYC could be replaced
25   by other members in its family of transcription factors, OCT4 cannot.
26         B.     Dr. Kaufman’s Double Dealing
27         32.    Dr. Kaufman’s obligations to Fate Therapeutics began on July 1, 2015 when
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 1   the parties entered into a Scientific Advisor Agreement (the “Agreement”).
 2         33.    On August 21, 2019, Dr. Kaufman and Fate Therapeutics extended the
 3   Agreement through June 30, 2021. On information and belief, as Fate Therapeutics’
 4   Scientific Advisor, Dr. Kaufman had access to Fate Therapeutics’ proprietary iPSC
 5   technology and was aware of the patents Fate Therapeutics licensed from Whitehead
 6   Institute, including the Asserted Patents.
 7         34.    On November 18, 2019, Dr. Kaufman asked Fate Therapeutics’ Chief Science
 8   Officer for the details of Fate Therapeutics’ Investor Dinner at the American Society of
 9   Hematology (“ASH”) conference: “Let me know about the time and place for the Investor
10   dinner at ASH. I can hide in the back….”
11         35.    On December 4, 2019, Dr. Kaufman persisted in seeking details to attend the
12   private Fate Investor Dinner. “Can you let me know the details (time and place) of the Fate
13   investors dinner at ASH? As discussed, even if I am not presenting, it would be good if I
14   could attend.” With Dr. Kaufman under exclusivity obligations to Fate Therapeutics, Fate
15   Therapeutics’ Chief Science Officer provided Dr. Kaufman the details of the Fate Investor
16   Dinner.
17         36.    On December 6, 2019, Dr. Kaufman attended the private Fate Investor Dinner
18   with Fate Therapeutics’ investors and prospective investors. On information and belief,
19   during the Fate Investor Dinner, Dr. Kaufman had access to information about Fate
20   Therapeutics’ iPSC technology and the Asserted Patents.
21         37.    On information and belief, Dr. Kaufman met with Dr. Kleanthis Xanthopoulos
22   to discuss founding a competitor to Fate Therapeutics around or after the time of Fate
23   Therapeutics’ Investor Dinner.
24         38.    On February 6, 2020, Fate Therapeutics and Dr. Kaufman published research
25   that demonstrated Fate Therapeutics’ FT516 natural killer immunotherapy cells derived
26   from induced pluripotent stem cells are effective against blood cancer. The publication
27   disclosed that Dr. Kaufman “is a consultant for Fate Therapeutics, has equity and receives
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 1   income.” The underlying research used iPSC cell lines reprogrammed using the
 2   compositions and methods claimed in the Asserted Patents.
 3         39.     On information and belief, Dr. Kaufman and Dr. Xanthopoulos co-founded
 4   Shoreline on or about May 14, 2020. Dr. Kaufman was consulting for Fate Therapeutics at
 5   this time.
 6         40.     In violation of the Agreement, Dr. Kaufman failed to notify Fate Therapeutics
 7   that he intended to be a co-founder, director of, and participant in Shoreline. He also failed
 8   to notify Fate Therapeutics that as a co-founder, director of, and participant in, Shoreline,
 9   he intended to help Shoreline pursue strategic partnerships totaling over $4 billion, all while
10   serving as Fate Therapeutics’ Scientific Advisor.
11         41.     On July 9, 2020, without notice to or approval from Fate Therapeutics, Dr.
12   Kaufman helped Shoreline raise $3 million through the sale of Shoreline equity to investors.
13         42.     At least as early as August 2020 and after being reminded of his exclusivity
14   obligations to Fate Therapeutics under the Agreement, Dr. Kaufman helped Shoreline
15   pursue additional investors while denigrating Fate Therapeutics as purportedly having a
16   “short fall[] in treatment options.”      Exhibit I, August 2020 Shoreline “Corporate
17   Presentation” at p. 3 (“Shoreline is built by a very experienced team” including Dr.
18   Kaufman), and p. 17 (claiming Fate Therapeutics has an alleged “shortfall[] in treatment
19   options.”).
20         43.     Shoreline’s August 2020 Corporate Presentation also contains five pages
21   whose contents are taken from a June 11, 2020 publication by Dr. Kaufman, but omits its
22   statement that Dr. Kaufman “is a consultant for Fate Therapeutics, has equity and receives
23   income.” Id. at p. 9-13.
24         44.     On September 4, 2020, Dr. Kaufman sought a written waiver of his exclusivity
25   obligations to Fate Therapeutics. But in his written waiver request Dr. Kaufman misled Fate
26   Therapeutics as to the true nature and extent of his relationship and involvement with
27   Shoreline. Dr. Kaufman failed to disclose that he had co-founded, directed, and participated
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 1    in Shoreline, already helped it raise millions of dollars in investor funds, was in the process
 2    of helping it raise $43 million more, and intended to continue helping it secure strategic
 3    partnerships, all while serving as Fate Therapeutics’ Scientific Advisor.
 4          45.    In his waiver request, under “Detailed Description of Proposed Activities,” Dr.
 5    Kaufman only described his proposed activities with Shoreline as “Scientific Advisor” with
 6    a “Maximum Time Commitment” of 4-6 hours per month. The same day, Fate Therapeutics
 7    questioned Dr. Kaufman: “How/why is it distinct from what Fate is doing?”
 8          46.    On September 5, 2020, after being asked how and why Shoreline was distinct
 9    from Fate Therapeutics, Dr. Kaufman responded that Shoreline would also develop natural
10    killer immunotherapy cells derived from induced pluripotent stem cells but (allegedly
11    unlike Fate Therapeutics) Shoreline would be “using new technology” so the cells had
12    “improved function.” Dr. Kaufman’s response was silent as to how the induced pluripotent
13    stem cells from which Shoreline was deriving its immunotherapy treatments were made.
14    On information and belief, Dr. Kaufman and Shoreline lacked the scientific expertise to
15    develop a method for making iPSCs suitable for developing immunotherapies, that did not
16    require the use of exogenously introduced nucleic acid encoding OCT4 and without
17    infringing the Asserted Patents.
18          47.    Upon information and belief, Shoreline and Dr. Kaufman use Plaintiffs’ iPSC
19    platform technology, including the use of exogenously introduced nucleic acid encoding
20    OCT4, to generate the induced pluripotent stem cells from which Shoreline derives its
21    immunotherapy treatments. On information and belief, Dr. Kaufman and Shoreline could
22    not have made human iPSCs suitable for generating immunotherapies, and could not have
23    done so as quickly as they did, without infringing the Asserted Patents.
24          48.    On September 11, 2020, Fate Therapeutics informed Dr. Kaufman that he was
25    in breach of the Agreement by “providing services as an advisor” to Shoreline—the only
26    Shoreline-related activity for which Dr. Kaufman sought a waiver—as well as for serving
27    as a director of Shoreline and aiding in its formation. Fate Therapeutics demanded that Dr.
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 1    Kaufman terminate his relationship with Shoreline.
 2          49.    On October 12, 2020, Fate Therapeutics again informed Dr. Kaufman that his
 3    services to and participation in Shoreline breached the Agreement. Despite his breach and
 4    while still a Scientific Advisor for Fate Therapeutics, Dr. Kaufman continued to render
 5    services to Shoreline, including by securing investments totaling over $43 million, pursuing
 6    strategic partnerships with at least Kite Pharma, Inc. and BeiGene, Ltd., and planning to
 7    provide or develop competitive natural killer immunotherapy cells derived from induced
 8    pluripotent stem cells.
 9                                   THE ASSERTED PATENTS
10          50.    Fate Therapeutics is the exclusive licensee of the Asserted Patents, which were
11    developed by inventors Rudolf Jaenisch and Konrad Hochedlinger at Whitehead Institute.
12          51.    Although the invention(s) set forth in the Asserted Patents are best described
13    by their claims, the Asserted Patents are generally directed to engineered somatic cells that
14    are reprogrammed into a less differentiated state through, for example, the activation of a
15    pluripotency gene(s), such as the OCT4 transgene.
16          52.    For example, claim 1 of the ’369 Patent recites:
17                 A composition comprising an isolated primary somatic cell
                   that comprises an exogenously introduced nucleic acid
18                 encoding an Oct4 protein operably linked to at least one
                   regulatory sequence.
19
            53.    As an additional example, claim 1 of the ’856 Patent recites:
20
                   A method of making a somatic cell more susceptible to
21                 reprogramming to a pluripotent state comprising introducing
                   at least one exogenous nucleic acid encoding Oct4 operably
22                 linked to at least one regulatory sequence into the cell, thereby
                   increasing expression of Oct4 protein in the somatic cell,
23                 wherein increased expression of Oct4 protein makes the cell
                   more susceptible to reprogramming to a pluripotent state.
24
            54.    As another example, claim 1 of the ’797 Patent recites:
25
                   A composition comprising an isolated primary somatic cell
26                 that comprises an exogenously introduced nucleic acid
                   encoding Oct4, wherein the exogenously introduced nucleic
27                 acid increases Oct4 expression in the cell.
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 1          55.   As an additional example, claim 1 of the ’536 Patent recites:
 2                A method of making a primary somatic cell more susceptible
                  to reprogramming to a less differentiated state, com-prising:
 3                introducing an exogenous nucleic acid encoding an Oct 4
                  protein operably linked to at least one regulatory sequence into
 4                the somatic cell, wherein expression of the exogenously
                  introduced nucleic acid results in making the somatic cell
 5                more susceptible to reprogramming to a less differentiated
                  state.
 6
            56.   As another example, claim 1 of the ’490 Patent recites:
 7
                  A somatic cell comprising an exogenous nucleic acid
 8                encoding Oct4 and an amount of Oct4 expression comparable
                  to the amount of Oct4 expression in an embryonic stem cell.
 9
            57.   As an additional example, claim 1 of the ’917 Patent recites:
10
                  A method of making a somatic cell more susceptible to
11                reprogramming to a less differentiated state, comprising:
                  introducing an exogenous nucleic acid encoding an Oct4
12                protein operably linked to at least one regulatory sequence into
                  the somatic cell, thereby increasing expression of Oct4 protein
13                in the somatic cell, wherein increased expression of Oct4
                  protein makes the cell more susceptible to reprogramming;
14                and wherein the exogenous nucleic acid is transiently
                  transfected into the somatic cell.
15

16          58.   The Asserted Patents are related, share a common specification, and claim
17    priority to at least November 26, 2003.
18          59.   The Asserted Patents were duly issued by the United States Patent and
19    Trademark Office and are presumed valid. The ’369 Patent issued on December 6, 2011.
20    The ’856 Patent issued on January 13, 2015. The ’797 Patent issued on February 10, 2015.
21    The ’536 Patent issued on January 27, 2015. The ’490 Patent issued on October 27, 2015.
22    The ’917 Patent issued on October 29, 2019.
23          60.   The groundbreaking iPSC reprogramming platform claimed in the Asserted
24    Patents is not reasonably related to the development and submission of any information
25    under the Federal Food, Drug, and Cosmetic Act (“FDCA”), including clinical and
26    preclinical studies of patented compounds that are appropriate for submission to the U.S.
27    Food and Drug Administration (“FDA”); pharmacological, toxicological, pharmacokinetic,
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 1    and biological qualities of drug substances or drug products; or the safety and/or clinical
 2    efficacy of drug substances or drug products. In other words, it is not reasonably related to
 3    the generation of the kinds of information submitted to support an investigational new drug
 4    application (“IND”) or new drug application (“NDA”). Instead, the iPSC platform
 5    transforms somatic cells (such as skin fibroblast cells) into iPSC cells that have no
 6    therapeutic properties desired by Dr. Kaufman or Shoreline, including for the treatment of
 7    cancers or other conditions. On information and belief, at the time of infringement,
 8    Defendants did not and could not have reasonably believed they possessed a therapeutic
 9    with desired anti-cancer biological properties.
10          61.    Because the iPSC reprogramming platform claimed in the Asserted Patents is
11    not subject to FDA premarket approval, the Asserted Patents are also not eligible for
12    patent term extension provided by 35 U.S.C. § 156(f).
13                        DEFENDANTS’ INFRINGING ACTIVITIES
14          62.    On information and belief, Defendants, individually and acting in concert,
15    make, use, sell, offer for sale, and/or import induced pluripotent stem cells that infringe one
16    or more claims of the Asserted Patents.
17          63.    On information and belief, Defendants have infringed the Asserted Patents in
18    this District, including at Shoreline’s corporate headquarters and at the Advanced Cell
19    Therapy Laboratory of the University of California, San Diego.
20          64.    Defendants’ actions have irreparably harmed Plaintiffs and will continue to do
21    so unless they permanently cease. At least the continued use of the infringing induced
22    pluripotent stem cells will further damage Fate Therapeutics’ market position and good
23    reputation in the biotechnology/pharmaceutical industry. In addition, Defendants’
24    continued knowing acts of infringement will frustrate Fate Therapeutics’ ongoing and
25    potential business relationships and contracts, with resulting lost sales and profits, and are
26    otherwise causing or will cause substantial irreparable harm to Fate Therapeutics’ business.
27          65.    As a result of Defendants’ actions, Plaintiffs are forced to file this lawsuit to
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 1    protect their patented inventions and reputation as a leader in the industry.
 2                                 FIRST CLAIM FOR RELIEF
 3                                (Infringement of the ’369 Patent)
 4          66.    Plaintiffs restate and reallege each of the assertions set forth in the paragraphs
 5    above.
 6          67.    This is a claim for patent infringement and arises under the Patent Laws of the
 7    United States and, in particular, under 35 U.S.C. §§ 271, et seq.
 8          68.    Defendants have in the past infringed and continue to infringe the ’369 Patent
 9    in violation of at least 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling,
10    in the United States, or importing into the United States induced pluripotent stem cells that
11    infringe at least claim 1 of the ’369 Patent without Plaintiffs’ authorization or consent.
12          69.    On information and belief, including the information regarding Defendants’
13    use of the infringing induced pluripotent stem cells, Defendants’ manufacture, use, offer to
14    sell, or sale of the infringing products was and is not protected by the “safe harbor”
15    provision of 35 U.S.C. § 271(e)(1).
16          70.    Claim 1 of the ’369 Patent recites: “a composition comprising an isolated
17    primary somatic cell that comprises an exogenously introduced nucleic acid encoding an
18    Oct4 protein operably linked to at least one regulatory sequence.”
19          71.    Defendants’ use of their “iPSC-derived cell therapy manufacturing platform”
20    infringes at least claim 1 of the ’369 Patent. Defendants describe their process for making,
21    iPSC-derived therapies as follows:
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11          72.   On information and belief, Defendants generate the iPSCs from isolated
12    primary somatic cells (e.g., human skin cells or fibroblasts). On information and belief,
13    Defendants introduce into the somatic cells an exogenous nucleic acid (such as cDNA)
14    encoding an OCT4 protein operably linked to at least one regulatory sequence.
15          73.   On information and belief, there is no commercially suitable way to make
16    healthy, viable, bona fide human iPSCs other than using isolated primary somatic cells
17    (particularly, e.g., fibroblasts). The iPSCs used in Defendants’ manufacturing process thus
18    originate from primary somatic cells.
19          74.   On information and belief, the iPSCs used in Defendants’ manufacturing
20    process comprise an exogenously introduced nucleic acid (particularly, cDNA) encoding
21    an OCT4 protein operably linked to at least one regulatory sequence. On information and
22    belief, it would not have been practical or economical for Defendants to develop a method
23    for making human iPSCs, suitable for their intended purposes of manufacturing healthy,
24    viable immunotherapeutics (e.g., NK cells), by using any method other than the invention
25    disclosed in the ’369 Patent, as no such method existed at the time of infringement and
26    would have required expertise and an enormous and lengthy research effort, neither of
27    which were within Defendants’ capabilities.
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                                            14          CASE NO. _____________________
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 1          75.    OCT4 is the most critical transcription factor for making iPSCs. OCT4 serves
 2    as a master regulator, playing an integral role in maintaining pluripotency and establishing
 3    the inner cell mass during development. Healthy human iPSCs suitable for producing
 4    immunotherapies cannot be made without the introduction of exogenous nucleic acid
 5    encoding OCT4. The nucleic acid encoding OCT4 must be operably linked to one or more
 6    regulatory elements to affect the expression of the OCT4 transcription factor.
 7          76.    Indeed, Fate Therapeutics generates iPSCs through the activation/expression
 8    of OCT4 in accordance with the ’369 Patent.
 9          77.    As a Scientific Advisor for Fate Therapeutics, Dr. Kaufman was aware of Fate
10    Therapeutics’ iPSCs and used such iPSCs in his consultation with Fate Therapeutics.
11          78.    Defendants also infringe the ’369 Patent under at least 35 U.S.C. § 271(b).
12          79.    On information and belief, Defendants have been aware of the ’369 Patent and
13    that they infringe the ’369 Patent since at least May 14, 2020 by virtue of Dr. Kaufman’s
14    position as a Scientific Advisor for Fate Therapeutics and the renown of the Asserted
15    Patents in the industry.
16          80.    On information and belief, Defendants intended to induce patent infringement
17    by at least the Advanced Cell Therapy Laboratory of the University of California, San Diego
18    to produce iPSCs claimed by the ’369 Patent and had knowledge that the inducing acts
19    would cause infringement or were willfully blind to the possibility that their inducing acts
20    would cause infringement. Indeed, Defendants prominently advertise on their website that
21    they have “partnered with the Advanced Cell Therapy Laboratory (ACTL) of UC San
22    Diego” to allow it “to bring in-house GMP grade iPSCs to bank and rapidly initiate
23    preclinical development and IND-enabling studies.” Exhibit J. Defendants also “leverage
24    an extensive network of leading CMC professionals to guide our manufacturing agenda.”
25    Exhibit K. On information and belief, Dr. Kaufmann performed and/or directed the
26    infringing work at ACTL.
27          81.    On information and belief, Defendants performed acts that constitute
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                                             15          CASE NO. _____________________
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 1    inducement of infringement, and would cause actual infringement, with the knowledge of
 2    the ’369 Patent. For example, Defendants instructed and/or supervised the Advanced Cell
 3    Therapy Laboratory of the University of California, San Diego to produce iPSCs claimed
 4    by the ’369 Patent.
 5             82.   The invention claimed by the ’369 Patent does not require FDA approval for
 6    marketing.
 7             83.   On information and belief, Dr. Kaufman and Shoreline make and use the iPSCs
 8    of the ’369 Patent in their cell therapy manufacturing platform. On information and belief,
 9    Dr. Kaufman carried out the infringing manufacture of iPSCs for the benefit of and in his
10    role as an officer, employee, or agent of Shoreline.
11             84.   Defendants’ infringing conduct will continue unless enjoined by this Court.
12             85.   On information and belief, Defendants became aware of the ’369 Patent prior
13    to their acts of infringement. As a result, the use of the iPSC compositions claimed in the
14    ’369 Patent by Defendants was made and will be made with full knowledge of the ’369
15    Patent and without a reasonable basis for believing that Defendants would not be liable for
16    infringing the ’369 Patent.
17             86.   Defendants have engaged in deliberate and willful behavior with knowledge
18    of the ’369 Patent and knew or should have known that their actions constituted direct
19    and/or indirect infringement of the ’369 Patent.
20             87.   Defendants’ acts of direct infringement have been, and continue to be, willful
21    and deliberate, and Defendants’ acts of indirect infringement were, and continue to be,
22    knowing and intentional.
23             88.   Plaintiffs are entitled to an award of damages adequate to compensate Fate
24    Therapeutics for patent infringement, as well as prejudgment interest from the date the
25    infringement began, but in no event less than a reasonable royalty as permitted by 35 U.S.C.
26    § 284.
27             89.   Plaintiffs are entitled to an award of treble damages for the period of any
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                                              16          CASE NO. _____________________
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 1    willful infringement pursuant to 35 U.S.C. § 284.
 2          90.    Plaintiffs are entitled to a finding that this case is exceptional and an award of
 3    interest, costs and attorneys’ fees incurred by Fate Therapeutics in prosecuting this action
 4    as provided by 35 U.S.C. § 285.
 5          91.    Plaintiffs are entitled to an award of pre-judgment and post-judgment interest
 6    as provided by law.
 7          92.    Plaintiffs are entitled to such other and further relief as this Court or a jury may
 8    deem just and proper.
 9                               SECOND CLAIM FOR RELIEF
10                                (Infringement of the ’856 Patent)
11          93.    Plaintiffs restate and reallege each of the assertions set forth in the paragraphs
12    above.
13          94.    This is a claim for patent infringement and arises under the Patent Laws of the
14    United States and, in particular, under 35 U.S.C. §§ 271, et seq.
15          95.    Defendants have in the past infringed and continue to infringe the ’856 Patent
16    in violation of at least 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling,
17    in the United States, or importing into the United States induced pluripotent stem cells that
18    infringe at least claim 1 of the ’856 Patent without Plaintiffs’ authorization or consent.
19          96.    On information and belief, including the information regarding Defendants’
20    use of the infringing induced pluripotent stem cells, Defendants’ manufacture, use, offer to
21    sell, or sale of the infringing products was and is not protected by the “safe harbor”
22    provision of 35 U.S.C. § 271(e)(1).
23          97.    Claim 1 of the ’856 Patent recites: “A method of making a somatic cell more
24    susceptible to reprogramming to a pluripotent state comprising introducing at least one
25    exogenous nucleic acid encoding Oct4 operably linked to at least one regulatory sequence
26    into the cell, thereby increasing expression of Oct4 protein in the somatic cell, wherein
27    increased expression of Oct4 protein makes the cell more susceptible to reprogramming to
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                                              17          CASE NO. _____________________
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 1    a pluripotent state.”
 2          98.    Defendants’ use of their “iPSC-derived cell therapy manufacturing platform”
 3    infringes at least claim 1 of the ’856 Patent. Defendants describe their process for making,
 4    iPSC-derived therapies as follows:
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15          99.    On information and belief, Defendants manufacture iPSCs from isolated
16    primary somatic cells (e.g., human skin cells or fibroblasts). On information and belief,
17    Defendants introduce into the somatic cells an exogenous nucleic acid (such as cDNA)
18    encoding an OCT4 protein linked to at least one regulatory sequence. Doing so, necessarily
19    increases expression of OCT4 protein in the cell and, in turn, makes the cell more
20    susceptible to reprogramming to a pluripotent state.
21          100. On information and belief, there is no commercially suitable way to make
22    healthy, viable, bona fide human iPSCs other than using isolated primary somatic cells
23    (particularly, e.g., fibroblasts). The iPSCs used in Defendants’ manufacturing process thus
24    originate from primary somatic cells.
25          101. On information and belief, Defendants make iPSCs by introducing nucleic
26    acid (particularly, cDNA) encoding an OCT4 protein operably linked to at least one
27    regulatory sequence into an isolated primary somatic cell (e.g., a fibroblast). This
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                                              18          CASE NO. _____________________
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 1    necessarily increases expression of OCT4 protein in the cell and, in turn, makes the cell
 2    more susceptible to reprogramming to a pluripotent state. On information and belief, it
 3    would not have been practical or economical for Defendants to develop a method for
 4    making human iPSCs, suitable for their intended purposes of manufacturing healthy, viable
 5    immunotherapeutics (e.g., NK cells), by using any method other than the invention
 6    disclosed in the ’856 Patent, as no such method existed at the time of infringement and
 7    would have required expertise and an enormous and lengthy research effort, neither of
 8    which were within Defendants’ capabilities.
 9          102. OCT4 is the most critical transcription factor for making iPSCs. OCT4 serves
10    as a master regulator, playing an integral role in maintaining pluripotency and establishing
11    the inner cell mass during development. Healthy human iPSCs suitable for producing
12    immunotherapies cannot be made without the introduction of exogenous nucleic acid
13    encoding OCT4. The nucleic acid encoding OCT4 must be operably linked to one or more
14    regulatory elements to affect the expression of the OCT4 protein.
15          103. Indeed, Fate Therapeutics generates iPSCs through the activation/expression
16    of OCT4 in accordance with the ’856 Patent.
17          104. As a Scientific Advisor for Fate Therapeutics, Dr. Kaufman was aware of Fate
18    Therapeutics’ iPSCs, their manufacture, and used such iPSCs in his consultation with Fate
19    Therapeutics.
20          105. Defendants also infringe the ’856 Patent under at least 35 U.S.C. § 271(b).
21          106. On information and belief, Defendants have been aware of the ’856 Patent and
22    that they infringe the ’856 Patent since at least May 14, 2020 by virtue of Dr. Kaufman’s
23    position as a Scientific Advisor for Fate Therapeutics and the renown of the Asserted
24    Patents in the industry.
25          107. On information and belief, Defendants intended to induce patent infringement
26    by at least the Advanced Cell Therapy Laboratory of the University of California, San Diego
27    to produce iPSCs claimed by the ’856 Patent and had knowledge that the inducing acts
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                                             19          CASE NO. _____________________
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 1    would cause infringement or were willfully blind to the possibility that their inducing acts
 2    would cause infringement. Indeed, Defendants prominently advertise on their website that
 3    they have “partnered with the Advanced Cell Therapy Laboratory (ACTL) of UC San
 4    Diego” to allow it “to bring in-house GMP grade iPSCs to bank and rapidly initiate
 5    preclinical development and IND-enabling studies.” Exhibit J. Defendants also “leverage
 6    an extensive network of leading CMC professionals to guide our manufacturing agenda.”
 7    Exhibit K.
 8          108. On information and belief, Defendants performed acts that constitute
 9    inducement of infringement, and would cause actual infringement, with the knowledge of
10    the ’856 Patent. For example, Defendants instructed and/or supervised the Advanced Cell
11    Therapy Laboratory of the University of California, San Diego to produce iPSCs claimed
12    by the ’856 Patent.
13          109. Defendants also infringe under 35 U.S.C. § 271(g) by offering to sell, selling,
14    or using within the United States iPSCs which are made by a process patented in the ’856
15    Patent.
16          110. Specifically, and as further detailed above, iPSCs used by Defendants to make
17    at least the iPSC-derived natural killer (NK) cell platforms are made by a process that
18    comprises at least each step of claim 1 of the ’856 Patent.
19          111. Accordingly, Defendants offers for sale, sales and use of such iPSCs are
20    infringing under § 271(g).
21          112. On information and belief, Dr. Kaufman and Shoreline make iPSCs according
22    to at least the method of the ’856 Patent in their cell therapy manufacturing platform. On
23    information and belief, Dr. Kaufman carried out the infringing manufacture of iPSCs for
24    the benefit of and in his role as an officer, employee, or agent of Shoreline.
25          113. The invention claimed by the ’856 Patent does not require FDA approval for
26    marketing.
27          114. Defendants’ infringing conduct will continue unless enjoined by this Court.
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                                             20          CASE NO. _____________________
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 1             115. On information and belief, Defendants became aware of the ’856 Patent prior
 2    to their acts of infringement. As a result, the use of the iPSC compositions claimed in the
 3    ’856 Patent by Defendants was made and will be made with full knowledge of the ’856
 4    Patent and without a reasonable basis for believing that Defendants would not be liable for
 5    infringing the ’856 Patent.
 6             116. Defendants have engaged in deliberate and willful behavior with knowledge
 7    of the ’856 Patent and knew or should have known that their actions constituted direct
 8    and/or indirect infringement of the ’856 Patent.
 9             117. Defendants’ acts of direct infringement have been, and continue to be, willful
10    and deliberate, and Defendants’ acts of indirect infringement were, and continue to be,
11    knowing and intentional.
12             118. Plaintiffs are entitled to an award of damages adequate to compensate Fate
13    Therapeutics for patent infringement, as well as prejudgment interest from the date the
14    infringement began, but in no event less than a reasonable royalty as permitted by 35 U.S.C.
15    § 284.
16             119. Plaintiffs are entitled to an award of treble damages for the period of any
17    willful infringement pursuant to 35 U.S.C. § 284.
18             120. Plaintiffs are entitled to a finding that this case is exceptional and an award of
19    interest, costs and attorneys’ fees incurred by Fate Therapeutics in prosecuting this action
20    as provided by 35 U.S.C. § 285.
21             121. Plaintiffs are entitled to an award of pre-judgment and post-judgment interest
22    as provided by law.
23             122. Plaintiffs are entitled to such other and further relief as this Court or a jury may
24    deem just and proper.
25                                   THIRD CLAIM FOR RELIEF
26                                  (Infringement of the ’797 Patent)
27             123. Plaintiffs restate and reallege each of the assertions set forth in the paragraphs
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                                               21          CASE NO. _____________________
                               COMPLAINT FOR PATENT INFRINGEMENT
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 1    above.
 2             124. This is a claim for patent infringement and arises under the Patent Laws of the
 3    United States and, in particular, under 35 U.S.C. §§ 271, et seq.
 4             125. Defendants have in the past infringed and continue to infringe the ’797 Patent
 5    in violation of at least 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling,
 6    in the United States, or importing into the United States induced pluripotent stem cells that
 7    infringe at least claim 1 of the ’797 Patent without Plaintiffs’ authorization or consent.
 8             126. On information and belief, including the information regarding Defendants’
 9    use of the infringing induced pluripotent stem cells, Defendants’ manufacture, use, offer to
10    sell, or sale of the infringing products was and is not protected by the “safe harbor”
11    provision of 35 U.S.C. § 271(e)(1).
12             127. Claim 1 of the ’797 Patent recites: “a composition comprising an isolated
13    primary somatic cell that comprises an exogenously introduced nucleic acid encoding
14    OCT4, wherein the exogenously introduced nucleic acid increases OCT4 expression in the
15    cell.”
16             128. Defendants’ use of their “iPSC-derived cell therapy manufacturing platform”
17    infringes at least claim 1 of the ’797 Patent. Defendants describe their process for making,
18    iPSC-derived therapies as follows:
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                                              22          CASE NO. _____________________
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 1          129. On information and belief, Defendants generate the iPSCs from isolated
 2    primary somatic cells (e.g., human skin cells or fibroblasts). On information and belief,
 3    Defendants introduce into the somatic cells an exogenous nucleic acid (such as cDNA)
 4    encoding an OCT4 protein.
 5          130. On information and belief, there is no commercially suitable way to make
 6    healthy, viable, bona fide human iPSCs other than using isolated primary somatic cells
 7    (particularly, e.g., fibroblasts). The iPSCs used in Defendants’ manufacturing process thus
 8    originate from primary somatic cells.
 9          131. On information and belief, the iPSCs used in Defendants’ manufacturing
10    process comprise an exogenously introduced nucleic acid (particularly, cDNA) encoding
11    an OCT4 protein. On information and belief, it would not have been practical or economical
12    for Defendants to develop a method for making human iPSCs, suitable for their intended
13    purposes of manufacturing healthy, viable immunotherapeutics (e.g., NK cells), by using
14    any method other than the invention disclosed in the ’797 Patent, as no such method existed
15    at the time of infringement and would have required expertise and an enormous and lengthy
16    research effort, neither of which were within Defendants’ capabilities.
17          132. OCT4 is the most critical transcription factor for making iPSCs. OCT4 serves
18    as a master regulator, playing an integral role in maintaining pluripotency and establishing
19    the inner cell mass during development. Healthy human iPSCs suitable for producing
20    immunotherapies cannot be made without the introduction of exogenous nucleic acid
21    encoding OCT4 protein. The nucleic acid encoding OCT4 must be operably linked to one
22    or more regulatory elements to affect the expression of the OCT4 protein or transcription
23    factor.
24          133. Indeed, Fate Therapeutics generates iPSCs through the activation/expression
25    of OCT4 in accordance with the ’797 Patent.
26          134. As a Scientific Advisor for Fate Therapeutics, Dr. Kaufman was aware of Fate
27    Therapeutics’ iPSCs and used such iPSCs in his consultation with Fate Therapeutics.
28
                                            23          CASE NO. _____________________
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 1          135. Defendants also infringe the ’797 Patent under at least 35 U.S.C. § 271(b).
 2          136. On information and belief, Defendants have been aware of the ’797 Patent and
 3    that they infringe the ’797 Patent since at least May 14, 2020 by virtue of Dr. Kaufman’s
 4    position as a Scientific Advisor for Fate Therapeutics and the renown of the Asserted
 5    Patents in the industry.
 6          137. On information and belief, Defendants intended to induce patent infringement
 7    by at least the Advanced Cell Therapy Laboratory of the University of California, San Diego
 8    to produce iPSCs claimed by the ’797 Patent and had knowledge that the inducing acts
 9    would cause infringement or were willfully blind to the possibility that their inducing acts
10    would cause infringement. Indeed, Defendants prominently advertise on their website that
11    they have “partnered with the Advanced Cell Therapy Laboratory (ACTL) of UC San
12    Diego” to allow it “to bring in-house GMP grade iPSCs to bank and rapidly initiate
13    preclinical development and IND-enabling studies.” Exhibit J. Defendants also “leverage
14    an extensive network of leading CMC professionals to guide our manufacturing agenda.”
15    Exhibit K.
16          138. On information and belief, Defendants performed acts that constitute
17    inducement of infringement, and would cause actual infringement, with the knowledge of
18    the ’797 Patent. For example, Defendants instructed and/or supervised the Advanced Cell
19    Therapy Laboratory of the University of California, San Diego to produce iPSCs claimed
20    by the ’797 Patent.
21          139. The invention claimed by the ’797 Patent does not require FDA approval for
22    marketing.
23          140. On information and belief, Dr. Kaufman and Shoreline make and use the iPSCs
24    of the ’797 Patent in their cell therapy manufacturing platform. On information and belief,
25    Dr. Kaufman carried out the infringing manufacture of iPSCs for the benefit of and in his
26    role as an officer, employee, or agent of Shoreline.
27          141. Defendants’ infringing conduct will continue unless enjoined by this Court.
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                                             24          CASE NO. _____________________
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 1             142. On information and belief, Defendants became aware of the ’797 Patent prior
 2    to their acts of infringement. As a result, the use of the iPSC compositions claimed in the
 3    ’797 Patent by Defendants was made and will be made with full knowledge of the ’797
 4    Patent and without a reasonable basis for believing that Defendants would not be liable for
 5    infringing the ’797 Patent.
 6             143. Defendants have engaged in deliberate and willful behavior with knowledge
 7    of the ’797 Patent and knew or should have known that their actions constituted direct
 8    and/or indirect infringement of the ’797 Patent.
 9             144. Defendants’ acts of direct infringement have been, and continue to be, willful
10    and deliberate, and Defendants’ acts of indirect infringement were, and continue to be,
11    knowing and intentional.
12             145. Plaintiffs are entitled to an award of damages adequate to compensate Fate
13    Therapeutics for patent infringement, as well as prejudgment interest from the date the
14    infringement began, but in no event less than a reasonable royalty as permitted by 35 U.S.C.
15    § 284.
16             146. Plaintiffs are entitled to an award of treble damages for the period of any
17    willful infringement pursuant to 35 U.S.C. § 284.
18             147. Plaintiffs are entitled to a finding that this case is exceptional and an award of
19    interest, costs and attorneys’ fees incurred by Fate Therapeutics in prosecuting this action
20    as provided by 35 U.S.C. § 285.
21             148. Plaintiffs are entitled to an award of pre-judgment and post-judgment interest
22    as provided by law.
23             149. Plaintiffs are entitled to such other and further relief as this Court or a jury may
24    deem just and proper.
25                                  FOURTH CLAIM FOR RELIEF
26                                  (Infringement of the ’536 Patent)
27             150. Plaintiffs restate and reallege each of the assertions set forth in the paragraphs
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                                               25          CASE NO. _____________________
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 1    above.
 2          151. This is a claim for patent infringement and arises under the Patent Laws of the
 3    United States and, in particular, under 35 U.S.C. §§ 271, et seq.
 4          152. Defendants have in the past infringed and continue to infringe the ’536 Patent
 5    in violation of at least 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling,
 6    in the United States, or importing into the United States induced pluripotent stem cells that
 7    infringe at least claim 1 of the ’536 Patent without Plaintiffs’ authorization or consent.
 8          153. On information and belief, including the information regarding Defendants’
 9    use of the infringing induced pluripotent stem cells, Defendants’ manufacture, use, offer to
10    sell, or sale of the infringing products was and is not protected by the “safe harbor”
11    provision of 35 U.S.C. § 271(e)(1).
12          154. Claim 1 of the ’536 Patent recites: “a method of making a primary somatic cell
13    more susceptible to reprogramming to a less differentiated state, comprising: introducing
14    an exogenous nucleic acid encoding an Oct4 protein operably linked to at least one
15    regulatory sequence into the somatic cell, wherein expression of the exogenously
16    introduced nucleic acid results in making the somatic cell more susceptible to
17    reprogramming to a less differentiated state.”
18          155. Defendants’ use of their “iPSC-derived cell therapy manufacturing platform”
19    infringes at least claim 1 of the ’536 Patent. Defendants describe their process for making,
20    iPSC-derived therapies as follows:
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 2          156. On information and belief, Defendants manufacture iPSCs from isolated
 3    primary somatic cells (e.g., human skin cells or fibroblasts). On information and belief,
 4    Defendants introduce into the somatic cells an exogenous nucleic acid (such as cDNA)
 5    encoding an OCT4 protein operably linked to at least one regulatory sequence. Doing so,
 6    necessarily increases expression of OCT4 protein in the cell and, in turn, makes the cell
 7    more susceptible to reprogramming to a less differentiated (e.g., pluripotent) state.
 8          157. On information and belief, there is no commercially suitable way to make
 9    healthy, viable, bona fide human iPSCs other than using isolated primary somatic cells
10    (particularly, e.g., fibroblasts). The iPSCs used in Defendants’ manufacturing process thus
11    originate from primary somatic cells.
12          158. On information and belief, Defendants make iPSCs by introducing nucleic
13    acid (particularly, cDNA) encoding an OCT4 protein operably linked to at least one
14    regulatory sequence into an isolated primary somatic cell (e.g., a fibroblast). This
15    necessarily increases expression of OCT4 protein in the cell and, in turn, makes the cell
16    more susceptible to reprogramming to a less differentiated (e.g., pluripotent) state. On
17    information and belief, it would not have been practical or economical for Defendants to
18    develop a method for making human iPSCs, suitable for their intended purposes of
19    manufacturing healthy, viable immunotherapeutics (e.g., NK cells), by using any method
20    other than the invention disclosed in the ’536 Patent, as no such method existed at the time
21    of infringement and would have required expertise and an enormous and lengthy research
22    effort, neither of which were within Defendants’ capabilities.
23          159. OCT4 is the most critical transcription factor for making iPSCs. OCT4 serves
24    as a master regulator, playing an integral role in maintaining pluripotency and establishing
25    the inner cell mass during development. Healthy human iPSCs suitable for producing
26    immunotherapies cannot be made without the introduction of exogenous nucleic acid
27    encoding OCT4. The nucleic acid encoding OCT4 must be operably linked to one or more
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 1    regulatory elements to affect the expression of the OCT4 protein or transcription factor.
 2          160. Indeed, Fate Therapeutics generates iPSCs through the activation/expression
 3    of OCT4 in accordance with the ’536 Patent.
 4          161. As a Scientific Advisor for Fate Therapeutics, Dr. Kaufman was aware of Fate
 5    Therapeutics’ iPSCs, their manufacture, and used such iPSCs in his consultation with Fate
 6    Therapeutics.
 7          162. Defendants also infringe the ’536 Patent under at least 35 U.S.C. § 271(b).
 8          163. On information and belief, Defendants have been aware of the ’536 Patent and
 9    that they infringe the ’536 Patent since at least May 14, 2020 by virtue of Dr. Kaufman’s
10    position as a Scientific Advisor for Fate Therapeutics and the renown of the Asserted
11    Patents in the industry.
12          164. On information and belief, Defendants intended to induce patent infringement
13    by at least the Advanced Cell Therapy Laboratory of the University of California, San Diego
14    to produce iPSCs claimed by the ’536 Patent and had knowledge that the inducing acts
15    would cause infringement or were willfully blind to the possibility that their inducing acts
16    would cause infringement. Indeed, Defendants prominently advertise on their website that
17    they have “partnered with the Advanced Cell Therapy Laboratory (ACTL) of UC San
18    Diego” to allow it “to bring in-house GMP grade iPSCs to bank and rapidly initiate
19    preclinical development and IND-enabling studies.” Exhibit J. Defendants also “leverage
20    an extensive network of leading CMC professionals to guide our manufacturing agenda.”
21    Exhibit K.
22          165. On information and belief, Defendants performed acts that constitute
23    inducement of infringement, and would cause actual infringement, with the knowledge of
24    the ’536 Patent. For example, Defendants instructed and/or supervised the Advanced Cell
25    Therapy Laboratory of the University of California, San Diego to produce iPSCs claimed
26    by the ’536 Patent.
27          166. Defendants also infringe under 35 U.S.C. § 271(g) by offering to sell, selling,
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 1    or using within the United States iPSCs which are made by a process patented in the ’536
 2    Patent.
 3          167. Specifically, and as further detailed above, iPSCs used by Defendants to make
 4    at least the iPSC-derived natural killer (NK) cell platforms are made by a process that
 5    comprises at least each step of claim 1 of the ’536 Patent.
 6          168. Accordingly, Defendants offers for sale, sales and use of such iPSCs are
 7    infringing under § 271(g).
 8          169. On information and belief, Dr. Kaufman and Shoreline make iPSCs according
 9    to at least the method of the ’536 Patent in their cell therapy manufacturing platform. On
10    information and belief, Dr. Kaufman carried out the infringing manufacture of iPSCs for
11    the benefit of and in his role as an officer, employee, or agent of Shoreline.
12          170. The invention claimed by the ’536 Patent does not require FDA approval for
13    marketing.
14          171. Defendants’ infringing conduct will continue unless enjoined by this Court.
15          172. On information and belief, Defendants became aware of the ’536 Patent prior
16    to their acts of infringement. As a result, the use of the iPSC compositions claimed in the
17    ’536 Patent by Defendants was made and will be made with full knowledge of the ’536
18    Patent and without a reasonable basis for believing that Defendants would not be liable for
19    infringing the ’536 Patent.
20          173. Defendants have engaged in deliberate and willful behavior with knowledge
21    of the ’536 Patent and knew or should have known that their actions constituted direct
22    and/or indirect infringement of the ’536 Patent.
23          174. Defendants’ acts of direct infringement have been, and continue to be, willful
24    and deliberate, and Defendants’ acts of indirect infringement were, and continue to be,
25    knowing and intentional.
26          175. Plaintiffs are entitled to an award of damages adequate to compensate Fate
27    Therapeutics for patent infringement, as well as prejudgment interest from the date the
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 1    infringement began, but in no event less than a reasonable royalty as permitted by 35 U.S.C.
 2    § 284.
 3             176. Plaintiffs are entitled to an award of treble damages for the period of any
 4    willful infringement pursuant to 35 U.S.C. § 284.
 5             177. Plaintiffs are entitled to a finding that this case is exceptional and an award of
 6    interest, costs and attorneys’ fees incurred by Fate Therapeutics in prosecuting this action
 7    as provided by 35 U.S.C. § 285.
 8             178. Plaintiffs are entitled to an award of pre-judgment and post-judgment interest
 9    as provided by law.
10             179. Plaintiffs are entitled to such other and further relief as this Court or a jury may
11    deem just and proper.
12                                   FIFTH CLAIM FOR RELIEF
13                                  (Infringement of the ’490 Patent)
14             180. Plaintiffs restate and reallege each of the assertions set forth in the paragraphs
15    above.
16             181. This is a claim for patent infringement and arises under the Patent Laws of the
17    United States and, in particular, under 35 U.S.C. §§ 271, et seq.
18             182. Defendants have in the past infringed and continue to infringe the ’490 Patent
19    in violation of at least 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling,
20    in the United States, or importing into the United States induced pluripotent stem cells that
21    infringe at least claim 1 of the ’490 Patent without Plaintiffs’ authorization or consent.
22             183. On information and belief, including the information regarding Defendants’
23    use of the infringing induced pluripotent stem cells, Defendants’ manufacture, use, offer to
24    sell, or sale of the infringing products was and is not protected by the “safe harbor”
25    provision of 35 U.S.C. § 271(e)(1).
26             184. Claim 1 of the ’490 Patent recites: “a somatic cell comprising an exogenous
27    nucleic acid encoding Oct4 and an amount of Oct4 expression comparable to the amount of
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 1    Oct4 expression in an embryonic stem cell.”
 2          185. Defendants’ use of their “iPSC-derived cell therapy manufacturing platform”
 3    infringes at least claim 1 of the ’490 Patent. Defendants describe their process for making,
 4    iPSC-derived therapies as follows:
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12          186. On information and belief, Defendants generate the iPSCs from isolated
13    primary somatic cells (e.g., human skin cells or fibroblasts). On information and belief,
14    Defendants introduce into the somatic cells an exogenous nucleic acid (such as cDNA)
15    encoding an OCT4 protein.
16          187. On information and belief, there is no commercially suitable way to make
17    healthy, viable, bona fide human iPSCs other than using isolated primary somatic cells
18    (particularly, e.g., fibroblasts). The iPSCs used in Defendants’ manufacturing process thus
19    originate from primary somatic cells.
20          188. On information and belief, Defendants make iPSCs by introducing nucleic
21    acid (particularly, cDNA) encoding an OCT4 protein operably linked to at least one
22    regulatory sequence into an isolated primary somatic cell (e.g., a fibroblast). This
23    necessarily increases expression of OCT4 protein in the cell and, in turn, makes the cell
24    more susceptible to reprogramming to a less differentiated (e.g., pluripotent) state. On
25    information and belief, it would not have been practical or economical for Defendants to
26    develop a method for making human iPSCs, suitable for their intended purposes of
27    manufacturing healthy, viable immunotherapeutics (e.g., NK cells), by using any method
28
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 1    other than the invention disclosed in the ’490 Patent, as no such method existed at the time
 2    of infringement and would have required expertise and an enormous and lengthy research
 3    effort, neither of which were within Defendants’ capabilities.
 4          189. OCT4 is the most critical transcription factor for making iPSCs. OCT4 serves
 5    as a master regulator, playing an integral role in maintaining pluripotency and establishing
 6    the inner cell mass during development. Healthy human iPSCs suitable for producing
 7    immunotherapies cannot be made without the introduction of exogenous nucleic acid
 8    encoding OCT4. The nucleic acid encoding OCT4 must be operably linked to one or more
 9    regulatory elements to affect the expression of the OCT4 transcription factor.
10          190. Indeed, Fate Therapeutics generates iPSCs through the activation/expression
11    of OCT4 in accordance with the ’490 Patent.
12          191. As a Scientific Advisor for Fate Therapeutics, Dr. Kaufman was aware of Fate
13    Therapeutics’ iPSCs, their manufacture, and used such iPSCs in his consultation with Fate
14    Therapeutics.
15          192. Defendants also infringe the ’490 Patent under at least 35 U.S.C. § 271(b).
16          193. On information and belief, Defendants have been aware of the ’490 Patent and
17    that they infringe the ’490 Patent since at least May 14, 2020 by virtue of Dr. Kaufman’s
18    position as a Scientific Advisor for Fate Therapeutics and the renown of the Asserted
19    Patents in the industry.
20          194. On information and belief, Defendants intended to induce patent infringement
21    by at least the Advanced Cell Therapy Laboratory of the University of California, San Diego
22    to produce iPSCs claimed by the ’490 Patent and had knowledge that the inducing acts
23    would cause infringement or were willfully blind to the possibility that their inducing acts
24    would cause infringement. Indeed, Defendants prominently advertise on their website that
25    they have “partnered with the Advanced Cell Therapy Laboratory (ACTL) of UC San
26    Diego” to allow it “to bring in-house GMP grade iPSCs to bank and rapidly initiate
27    preclinical development and IND-enabling studies.” Exhibit J. Defendants also “leverage
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 1    an extensive network of leading CMC professionals to guide our manufacturing agenda.”
 2    Exhibit K.
 3          195. On information and belief, Defendants performed acts that constitute
 4    inducement of infringement, and would cause actual infringement, with the knowledge of
 5    the ’490 Patent. For example, Defendants instructed and/or supervised the Advanced Cell
 6    Therapy Laboratory of the University of California, San Diego to produce iPSCs claimed
 7    by the ’490 Patent.
 8          196. The invention claimed by the ’490 Patent does not require FDA approval for
 9    marketing.
10          197. On information and belief, Dr. Kaufman and Shoreline make and use the iPSCs
11    of the ’490 Patent in their cell therapy manufacturing platform. On information and belief,
12    Dr. Kaufman carried out the infringing manufacture of iPSCs for the benefit of and in his
13    role as an officer, employee, or agent of Shoreline.
14          198. Defendants’ infringing conduct will continue unless enjoined by this Court.
15          199. On information and belief, Defendants became aware of the ’490 Patent prior
16    to their acts of infringement. As a result, the use of the iPSC compositions claimed in the
17    ’490 Patent by Defendants was made and will be made with full knowledge of the ’490
18    Patent and without a reasonable basis for believing that Defendants would not be liable for
19    infringing the ’490 Patent.
20          200. Defendants have engaged in deliberate and willful behavior with knowledge
21    of the ’490 Patent and knew or should have known that their actions constituted direct
22    and/or indirect infringement of the ’490 Patent.
23          201. Defendants’ acts of direct infringement have been, and continue to be, willful
24    and deliberate, and Defendants’ acts of indirect infringement were, and continue to be,
25    knowing and intentional.
26          202. Plaintiffs are entitled to an award of damages adequate to compensate Fate
27    Therapeutics for patent infringement, as well as prejudgment interest from the date the
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 1    infringement began, but in no event less than a reasonable royalty as permitted by 35 U.S.C.
 2    § 284.
 3             203. Plaintiffs are entitled to an award of treble damages for the period of any
 4    willful infringement pursuant to 35 U.S.C. § 284.
 5             204. Plaintiffs are entitled to a finding that this case is exceptional and an award of
 6    interest, costs and attorneys’ fees incurred by Fate Therapeutics in prosecuting this action
 7    as provided by 35 U.S.C. § 285.
 8             205. Plaintiffs are entitled to an award of pre-judgment and post-judgment interest
 9    as provided by law.
10             206. Plaintiffs are entitled to such other and further relief as this Court or a jury may
11    deem just and proper.
12                                   SIXTH CLAIM FOR RELIEF
13                                  (Infringement of the ’917 Patent)
14             207. Plaintiffs restate and reallege each of the assertions set forth in the paragraphs
15    above.
16             208. This is a claim for patent infringement and arises under the Patent Laws of the
17    United States and, in particular, under 35 U.S.C. §§ 271, et seq.
18             209. Defendants have in the past infringed and continue to infringe the ’917 Patent
19    in violation of at least 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling,
20    in the United States, or importing into the United States induced pluripotent stem cells that
21    infringe at least claim 1 of the ’917 Patent without Plaintiffs’ authorization or consent.
22             210. On information and belief, including the information regarding Defendants’
23    use of the infringing induced pluripotent stem cells, Defendants’ manufacture, use, offer to
24    sell, or sale of the infringing products was and is not protected by the “safe harbor”
25    provision of 35 U.S.C. § 271(e)(1).
26             211. Claim 1 of the ’917 Patent recites: “A method of making a somatic cell more
27    susceptible to reprogramming to a less differentiated state, comprising: introducing an
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 1    exogenous nucleic acid encoding an Oct4 protein operably linked to at least one regulatory
 2    sequence into the somatic cell, thereby increasing expression of Oct4 protein in the somatic
 3    cell, wherein increased expression of Oct4 protein makes the cell more susceptible to
 4    reprogramming; and wherein the exogenous nucleic acid is transiently transfected into the
 5    somatic cell.”
 6          212. Defendants’ use of their “iPSC-derived cell therapy manufacturing platform”
 7    infringes at least claim 1 of the ’917 Patent. Defendants describe their process for making,
 8    iPSC-derived therapies as follows:
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17          213. On information and belief, Defendants manufacture iPSCs from isolated
18    primary somatic cells (e.g., human skin cells or fibroblasts). On information and belief,
19    Defendants transiently transfect the somatic cells with an exogenous nucleic acid (such as
20    cDNA) that encodes an OCT4 protein operably linked to at least one regulatory sequence.
21    Doing so, necessarily increases expression of OCT4 protein in the cell and, in turn, makes
22    the cell more susceptible to reprogramming to a less differentiated (e.g., pluripotent) state.
23          214. On information and belief, there is no commercially suitable way to make
24    healthy, viable, bona fide human iPSCs other than using isolated primary somatic cells
25    (particularly, e.g., fibroblasts). The iPSCs used in Defendants’ manufacturing process thus
26    originate from primary somatic cells.
27          215. On information and belief, Defendants make iPSCs by introducing, via
28
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 1    transient transfection, nucleic acids (particularly, cDNA) encoding an OCT4 protein
 2    operably linked to at least one regulatory sequence into an isolated primary somatic cell
 3    (e.g., a fibroblast). This necessarily increases expression of OCT4 protein in the cell and,
 4    in turn, makes the cell more susceptible to reprogramming to a less differentiated (e.g.,
 5    pluripotent) state. On information and belief, it would not have been practical or economical
 6    for Defendants to develop a method for making human iPSCs, suitable for their intended
 7    purposes of manufacturing healthy, viable immunotherapeutics (e.g., NK cells), by using
 8    any method other than the invention disclosed in the ’917 Patent, as no such method existed
 9    at the time of infringement and would have required expertise and an enormous and lengthy
10    research effort, neither of which were within Defendants’ capabilities.
11          216. OCT4 is the most critical transcription factor for making iPSCs. OCT4 serves
12    as a master regulator, playing an integral role in maintaining pluripotency and establishing
13    the inner cell mass during development. Healthy human iPSCs suitable for producing
14    immunotherapies cannot be made without the introduction of exogenous nucleic acid
15    encoding OCT4. The nucleic acid encoding OCT4 must be operably linked to one or more
16    regulatory elements to affect the expression of the OCT4 transcription factor.
17          217. Indeed, Fate Therapeutics generates iPSCs through the activation/expression
18    of OCT4 in accordance with the ’917 Patent.
19          218. As a Scientific Advisor for Fate Therapeutics, Dr. Kaufman was aware of Fate
20    Therapeutics’ iPSCs, their manufacture, and used such iPSCs in his consultation with Fate
21    Therapeutics.
22          219. Defendants also infringe the ’917 Patent under at least 35 U.S.C. § 271(b).
23          220. On information and belief, Defendants have been aware of the ’917 Patent and
24    that they infringe the ’917 Patent since at least May 14, 2020 by virtue of Dr. Kaufman’s
25    position as a Scientific Advisor for Fate Therapeutics and the renown of the Asserted
26    Patents in the industry.
27          221. On information and belief, Defendants intended to induce patent infringement
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 1    by at least the Advanced Cell Therapy Laboratory of the University of California, San Diego
 2    to produce iPSCs claimed by the ’917 Patent and had knowledge that the inducing acts
 3    would cause infringement or were willfully blind to the possibility that their inducing acts
 4    would cause infringement. Indeed, Defendants prominently advertise on their website that
 5    they have “partnered with the Advanced Cell Therapy Laboratory (ACTL) of UC San
 6    Diego” to allow it “to bring in-house GMP grade iPSCs to bank and rapidly initiate
 7    preclinical development and IND-enabling studies.” Exhibit J. Defendants also “leverage
 8    an extensive network of leading CMC professionals to guide our manufacturing agenda.”
 9    Exhibit K.
10          222. On information and belief, Defendants performed acts that constitute
11    inducement of infringement, and would cause actual infringement, with the knowledge of
12    the ’917 Patent. For example, Defendants instructed and/or supervised the Advanced Cell
13    Therapy Laboratory of the University of California, San Diego to produce iPSCs claimed
14    by the ’917 Patent.
15          223. Defendants also infringe under 35 U.S.C. § 271(g) by offering to sell, selling,
16    or using within the United States iPSCs which are made by a process patented in the ’917
17    Patent.
18          224. Specifically, and as further detailed above, iPSCs used by Defendants to make
19    at least the iPSC-derived natural killer (NK) cell platforms are made by a process that
20    comprises at least each step of claim 1 of the ’917 Patent.
21          225. Accordingly, Defendants offers for sale, sales and use of such iPSCs are
22    infringing under § 271(g).
23          226. On information and belief, Dr. Kaufman and Shoreline make iPSCs according
24    to at least the method of the ’917 Patent in their cell therapy manufacturing platform. On
25    information and belief, Dr. Kaufman carried out the infringing manufacture of iPSCs for
26    the benefit of and in his role as an officer, employee, or agent of Shoreline.
27          227. The invention claimed by the ’917 Patent does not require FDA approval for
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 1    marketing.
 2             228. Defendants’ infringing conduct will continue unless enjoined by this Court.
 3             229. On information and belief, Defendants became aware of the ’917 Patent prior
 4    to their acts of infringement. As a result, the use of the iPSC compositions claimed in the
 5    ’536 Patent by Defendants was made and will be made with full knowledge of the ’917
 6    Patent and without a reasonable basis for believing that Defendants would not be liable for
 7    infringing the ’917 Patent.
 8             230. Defendants have engaged in deliberate and willful behavior with knowledge
 9    of the ’917 Patent and knew or should have known that their actions constituted direct
10    and/or indirect infringement of the ’917 Patent.
11             231. Defendants’ acts of direct infringement have been, and continue to be, willful
12    and deliberate, and Defendants’ acts of indirect infringement were, and continue to be,
13    knowing and intentional.
14             232. Plaintiffs are entitled to an award of damages adequate to compensate Fate
15    Therapeutics for patent infringement, as well as prejudgment interest from the date the
16    infringement began, but in no event less than a reasonable royalty as permitted by 35 U.S.C.
17    § 284.
18             233. Plaintiffs are entitled to an award of treble damages for the period of any
19    willful infringement pursuant to 35 U.S.C. § 284.
20             234. Plaintiffs are entitled to a finding that this case is exceptional and an award of
21    interest, costs and attorneys’ fees incurred by Fate Therapeutics in prosecuting this action
22    as provided by 35 U.S.C. § 285.
23             235. Plaintiffs are entitled to an award of pre-judgment and post-judgment interest
24    as provided by law.
25             236. Plaintiffs are entitled to such other and further relief as this Court or a jury may
26    deem just and proper.
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 1                                    PRAYER FOR RELIEF
 2           WHEREFORE, Plaintiffs respectfully requests the following relief:
 3           A.    A judgment finding that the Asserted Patents have been infringed by
 4    Defendants in violation of 35 U.S.C. §271;
 5           B.    A judgment finding that Defendants’ infringement of the Asserted Patents is
 6    willful;
 7           C.    An award of damages adequate to compensate Plaintiffs for patent
 8    infringement, but in no event less than a reasonable royalty as permitted by 35 U.S.C. §
 9    284;
10           D.    An award of treble damages for the period of any willful infringement pursuant
11    to 35 U.S.C. § 284;
12           E.    A finding that this case is exceptional and an award of interest, costs and
13    attorneys’ fees incurred by Fate Therapeutics in prosecuting this action as provided by 35
14    U.S.C. § 285;
15           F.    An award of pre-judgment and post-judgment interest as provided by law;
16           G.    A permanent injunction as provided by 35 U.S.C. § 283; and
17           H.    Such other and further relief as this Court or a jury may deem just and proper.
18                                DEMAND FOR JURY TRIAL
19           Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury on all issues and
20    claims so triable.
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 1    DATED: May 13, 2022                   GREENBERG TRAURIG, LLP
 2                                          By: s/Brent D. Sokol
 3                                          Attorneys for Plaintiffs
 4                                          Brent D. Sokol (SBN 167537)
                                            sokolb@gtlaw.com
 5                                          Lisa C. McCurdy (SBN 228755)
                                            mccurdyl@gtlaw.com
 6                                          1840 Century Park East, Suite 1900
                                            Los Angeles, CA 90067
 7                                          Tel: (310) 586-7700
                                            Fax: (310) 586-7800
 8
                                            Rose Cordero Prey (pro hac vice
 9                                          admission pending)
                                            preyr@gtlaw.com
10                                          Jonathan D. Ball (pro hac vice admission
                                            pending)
11                                          ballj@gtlaw.com
                                            Giancarlo L. Scaccia (pro hac vice
12                                          admission pending)
                                            scacciag@gtlaw.com
13                                          GREENBERG TRAURIG, LLP
                                            One Vanderbilt Avenue
14                                          New York, NY 10017
                                            Tel: (212) 801-9200
15                                          Fax: (212) 801-6400
16

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                        EXHIBIT B
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Source: Fate Therapeutics, Inc.

December 13, 2021 16:31 ET


Fate Therapeutics Showcases Positive Interim Phase 1 Data from FT596
Off-the-shelf, iPSC-derived CAR NK Cell Program for Relapsed / Refractory
B-cell Lymphoma at 2021 ASH Annual Meeting
  5 of 6 Patients Achieve Objective Response, including 4 Patients with Complete Response, with Single Dose of
                             FT596 at 900 Million Cells in Combination with Rituximab

 13 of 19 Patients Achieve Objective Response with Single Dose of FT596 at 90 Million and 300 Million Cell Dose;
 10 of 11 Patients Treated with a Second FT596 Cycle Continue in Ongoing Response, with 3 Patients in Ongoing
    Complete Response at ≥6 Months Follow-up; Additional 2 Patients Reach 6 Months in Complete Response

FT596 Treatment Regimens were Well-tolerated; No Dose-limiting Toxicities, and No Adverse Events of Any Grade
 of ICANS or GVHD, were Observed; Three Low-grade Adverse Events of CRS Resolved without Intensive Care
                                                Treatment

                   Company to Host Virtual Investor Event Tomorrow at 8:00 AM Eastern Time

SAN DIEGO, Dec. 13, 2021 (GLOBE NEWSWIRE) -- Fate Therapeutics, Inc. (NASDAQ: FATE), a clinical-stage
biopharmaceutical company dedicated to the development of programmed cellular immunotherapies for cancer,
today showcased positive interim Phase 1 data from the Company’s FT596 program for patients with relapsed /
refractory B-cell lymphoma (BCL) at the 63rd American Society of Hematology (ASH) Annual Meeting and
Exposition. FT596 is the Company’s off-the-shelf, multi-antigen targeted, iPSC-derived natural killer (NK) cell
product candidate derived from a clonal master induced pluripotent stem cell (iPSC) line engineered with three
anti-tumor functional modalities: a proprietary chimeric antigen receptor (CAR) optimized for NK cell biology that
targets B-cell antigen CD19; a novel high-affinity, non-cleavable CD16 (hnCD16) Fc receptor that has been
modified to prevent its down-regulation and to enhance its binding to tumor-targeting antibodies; and an IL-15
receptor fusion (IL-15RF) that augments NK cell activity.

“The interim dose-escalation clinical data from our FT596 program in relapsed / refractory B-cell lymphoma
demonstrate that off-the-shelf, iPSC-derived CAR NK cells can bring substantial therapeutic benefit to heavily
pre-treated patients in urgent need of therapy, with high response rates and meaningful duration of responses,”
said Scott Wolchko, President and Chief Executive Officer of Fate Therapeutics. “We are particularly pleased with
the therapeutic profile that has emerged with FT596 in combination with rituximab, where over half of the patients
treated with a single dose of FT596 at higher dose levels achieved a complete response with a favorable safety
profile that is clearly differentiated from CAR T-cell therapy. We look forward to assessing a two-dose treatment
schedule for FT596 to further define its potential best-in-class therapeutic profile and ability to reach more
patients, including those earlier in care.”

The ongoing Phase 1 study in relapsed / refractory BCL is assessing a single dose of FT596 as monotherapy
(Monotherapy Arm) and in combination with a single dose of rituximab (375 mg/m 2) (Combination Arm) following
three days of conditioning chemotherapy (500 mg/m 2 of cyclophosphamide and 30 mg/m 2 of fludarabine). Certain
patients are eligible for re-treatment with a second, single-dose cycle.

The ASH presentation (Session 704—Cellular Immunotherapies: Expanding Targets and Cellular Sources for
Immunotherapies, Abstract 823) includes clinical data from 25 evaluable patients for safety (n=12 in Monotherapy
Arm; n=13 in Combination Arm) in the first, second, and third single-dose cohorts of 30 million, 90 million, and 300
                                                                                                Exhibit G
million cells, respectively, of which 24 patients were also evaluable for efficacy (n=12 in Monotherapy Arm; n=12
                                                                                                 Page 139
in Combination Arm), as of the data cutoff date of October 11, 2021. These 25 patients had received    a median of
four prior lines of therapy and a median of two prior lines containing CD20-targeted therapy. Of the 25 patients, 15
patients (60%)
      Case       had aggressive B-cell lymphoma,
              3:22-cv-00676-RBM-MSB         Document15 patients
                                                         1 Filed(60%)  were refractory
                                                                   05/13/22              to mostPage
                                                                                PageID.148       recent
                                                                                                     148prior
                                                                                                           of therapy,
                                                                                                               179
and 8 patients (32%) were previously treated with autologous CD19-targeted CAR T-cell therapy. Subsequent to
the data cutoff date for the ASH presentation, an additional patient in the third single-dose cohort of the
Combination Arm was evaluable for initial anti-tumor response, and seven patients in the fourth single-dose
cohort of 900 million cells (n=1 in Monotherapy Arm; n=6 in Combination Arm) were evaluable for safety and initial
anti-tumor response.

Single-dose, Single-cycle Response Data

In the second, third, and fourth dose cohorts of the Monotherapy and Combination Arms comprising a total of 26
patients, 18 patients (69%) achieved an objective response, including 12 patients (46%) that achieved a complete
response, on Day 29 following a single dose of FT596 (see Table 1). Nine of these 26 patients were previously
treated with autologous CD19-targeted CAR T-cell therapy and, of these nine patients, six achieved an objective
response (67%) on Day 29 following a single dose of FT596. Notably, in the third and fourth dose cohorts of the
Combination Arm comprising a total of 12 patients, nine patients (75%) achieved an objective response, including
seven patients (58%) that achieved a complete response, on Day 29 following a single dose of FT596.

Durability of Response Data

The ASH presentation includes durability of response data from 13 responding patients in the second and third
single-dose cohorts of 90 million cells and 300 million cells (n=9 in Monotherapy Arm; n=10 in Combination Arm).
As of the data cutoff date of October 11, 2021, 10 patients continued in ongoing response, including three patients
in ongoing complete response at least six months from initiation of treatment; two patients reached six months in
complete response and subsequently had disease progression; and one patient had disease progression prior to
six months. Of these 13 responding patients:

      Monotherapy Arm (n=7 responding patients). Five patients, all of whom were treated with a second FT596
      single-dose cycle with the consent of the U.S. Food and Drug Administration (FDA), continued in ongoing
      response at a median follow-up of 4.1 months, including one patient in ongoing complete response at 8.1
      months; one patient, who was treated with only one FT596 single-dose cycle, reached six months in
      complete response and subsequently had disease progression at 6.5 months; and one patient, who was
      treated with only one FT596 single-dose cycle, had disease progression at 1.7 months.
      Combination Arm (n=6 responding patients). Five patients, all of whom were treated with a second FT596
      single-dose cycle with the consent of the FDA, continued in ongoing response at a median follow-up of 4.6
      months, including two patients in ongoing complete response at 6.0 and 10.8 months; and one patient, who
      was treated with a second FT596 single-dose cycle with the consent of the FDA, reached six months in
      complete response and subsequently had disease progression at 6.7 months.

               Table 1. FT596 Interim Phase 1 Data – Day 29 Response Assessment 1
                                                Monotherapy                 Combination
           1 Dose x 1 Cycle                         (n=13)                      (n=19)
 Single-dose Level Cohorts (Cells)              OR            CR            OR                                CR
    30M                                       1/3 (33%)        0          0/3 (0%)                             0
    90M                                       3/4 (75%)        2          2/4 (50%)                            2
    300M 2                                    4/5 (80%)        1          4/6 (67%)                            3
    900M 2                                              0/1 (0%)            0              5/6 (83%)            4
 aCD19 History (≥90M Cells)                                   n=10                               n=16
    Naïve                                              7/9 (78%)            3             5/8 (63%)             4
    Prior                                               0/1 (0%)            0             6/8 (75%)             5
 Disease Histology (≥90M Cells)                               n=10                               n=16
    Aggressive                                         1/3 (33%)            0             6/11 (55%)            4
    Mantle cell                                         0/1 (0%)            0             2/2 (100%)            2
    Indolent                                           6/6 (100%)           3             3/3 (100%)            3

    aCD19 = autologous CD19-targeted CAR T-cell therapy; Aggressive = diffuse large B-cell lymphoma, Grade
    3b follicular lymphoma, Richter’s transformation, and high-grade B-cell lymphoma; CR = complete response;
    Indolent = splenic diffuse red pulp small B-cell lymphoma, non-Grade 3b follicular lymphoma, Waldenstrom’s
    macroglobulinemia, and small lymphocytic lymphoma; M = million; OR = objective response
    1 As of data cutoff date of October 11, 2021, unless otherwise noted. Objective response Exhibit G
                                                                                             and complete
    response are based on Cycle 1 Day 29 protocol-defined response assessment per Lugano     Page 140
                                                                                               2014  criteria.
    Data subject to source document verification.
    2Case
      Cycle3:22-cv-00676-RBM-MSB            Document
             1 Day 29 protocol-defined response          1 Filedcompleted
                                                   assessment       05/13/22 subsequent
                                                                              PageID.149     Page
                                                                                        to data    149
                                                                                                cutoff   of 179
                                                                                                       date for one
    patient in the third single-dose cohort of 300 million cells in the Combination Arm and seven patients in the
    fourth single-dose cohort of 900 million cells (n=1 in Monotherapy Arm; n=6 in Combination Arm).

Safety Data

The FT596 treatment regimens were well tolerated, including in those patients treated with a second, single-dose
cycle. No dose-limiting toxicities, and no treatment-emergent adverse events (TEAEs) of any grade of immune
effector cell-associated neurotoxicity syndrome (ICANS) or graft-versus-host disease (GvHD) were observed.
Three low-grade adverse events (two Grade 1, one Grade 2) of cytokine release syndrome (CRS) were reported,
which were of limited duration and resolved without intensive care treatment (see Table 2).

The Company has initiated enrollment of a two-dose treatment schedule in the Combination Arm, with FT596
administered on Day 1 and Day 15 at 900 million cells per dose. Patients with clinical benefit following
administration of the first two-dose cycle are eligible for re-treatment with a second two-dose cycle. Additionally,
patients with clinical response are eligible for re-treatment following disease progression.

                    Table 2. FT596 Interim Phase 1 Data – TEAEs of Interest
                                          Monotherapy                      Combination
                                            (n=13)                           (n=19)
             n (%)               All Grade         Grade 3+       All Grade         Grade 3+
 CRS                               1 (8%)              ---          2 (11%)             ---
 ICANS                                ---              ---             ---              ---
 GvHD                                 ---              ---             ---              ---
 Infections                       6 (46%)           3 (23%)         6 (32%)          3 (16%)
 FT596-related SAEs                   ---              ---          1 (5%) a            ---

    CRS = Cytokine Release Syndrome; GvHD = Graft vs. Host Disease; ICANS = Immune Cell-Associated
    Neurotoxicity Syndrome; TEAE = Treatment-Emergent Adverse Event; SAE = Severe Adverse Events
    a Grade 2 CRS


Investor Event Webcast

The Company will host a live audio webcast on Tuesday, December 14, 2021 at 8:00 a.m. ET to highlight interim
Phase 1 clinical data from the Company’s FT516 and FT596 programs for the treatment of relapsed / refractory
B-cell lymphoma. The live webcast can be accessed under "Events & Presentations" in the Investors section of
the Company's website at www.fatetherapeutics.com. The archived webcast will be available on the Company's
website beginning approximately two hours after the event.

About Fate Therapeutics’ iPSC Product Platform
The Company’s proprietary induced pluripotent stem cell (iPSC) product platform enables mass production of off-
the-shelf, engineered, homogeneous cell products that are designed to be administered with multiple doses to
deliver more effective pharmacologic activity, including in combination with other cancer treatments. Human
iPSCs possess the unique dual properties of unlimited self-renewal and differentiation potential into all cell types of
the body. The Company’s first-of-kind approach involves engineering human iPSCs in a one-time genetic
modification event and selecting a single engineered iPSC for maintenance as a clonal master iPSC line.
Analogous to master cell lines used to manufacture biopharmaceutical drug products such as monoclonal
antibodies, clonal master iPSC lines are a renewable source for manufacturing cell therapy products which are
well-defined and uniform in composition, can be mass produced at significant scale in a cost-effective manner,
and can be delivered off-the-shelf for patient treatment. As a result, the Company’s platform is uniquely designed
to overcome numerous limitations associated with the production of cell therapies using patient- or donor-sourced
cells, which is logistically complex and expensive and is subject to batch-to-batch and cell-to-cell variability that
can affect clinical safety and efficacy. Fate Therapeutics’ iPSC product platform is supported by an intellectual
property portfolio of over 350 issued patents and 150 pending patent applications.

About FT596
FT596 is an investigational, universal, off-the-shelf natural killer (NK) cell cancer immunotherapy derived from a
clonal master induced pluripotent stem cell (iPSC) line engineered with three anti-tumor functional modalities: a
proprietary chimeric antigen receptor (CAR) optimized for NK cell biology that targets B-cell antigen CD19; a
novel high-affinity 158V, non-cleavable CD16 (hnCD16) Fc receptor, which has been modified to prevent its
down-regulation and to enhance its binding to tumor-targeting antibodies; and an IL-15 receptorExhibit
                                                                                                  fusion G
                                                                                                         (IL-15RF)
that augments NK cell activity. In preclinical studies of FT596, the Company has demonstrated that dual
                                                                                                 Page 141
activation of the CAR19 and hnCD16 targeting receptors enhances cytotoxic activity, indicating that multi-antigen
engagement may elicit a deeper and more durable response. Additionally, in a humanized mouse model of
lymphoma,      FT596 in combination with the Document
       Case 3:22-cv-00676-RBM-MSB              anti-CD20 monoclonal antibody rituximab
                                                           1 Filed 05/13/22            showed
                                                                              PageID.150      enhanced
                                                                                            Page  150 ofkilling
                                                                                                         179 of
tumor cells in vivo as compared to rituximab alone. FT596 is being investigated in a multi-center Phase 1 clinical
trial for the treatment of relapsed / refractory B-cell lymphoma as a monotherapy and in combination with
rituximab, and for the treatment of relapsed / refractory chronic lymphocytic leukemia (CLL) as a monotherapy
and in combination with obinutuzumab (NCT04245722).

About Fate Therapeutics, Inc.
Fate Therapeutics is a clinical-stage biopharmaceutical company dedicated to the development of first-in-class
cellular immunotherapies for patients with cancer. The Company has established a leadership position in the
clinical development and manufacture of universal, off-the-shelf cell products using its proprietary induced
pluripotent stem cell (iPSC) product platform. The Company’s immuno-oncology pipeline includes off-the-shelf,
iPSC-derived natural killer (NK) cell and T-cell product candidates, which are designed to synergize with well-
established cancer therapies, including immune checkpoint inhibitors and monoclonal antibodies, and to target
tumor-associated antigens using chimeric antigen receptors (CARs). Fate Therapeutics is headquartered in San
Diego, CA. For more information, please visit www.fatetherapeutics.com.

Forward-Looking Statements
This release contains "forward-looking statements" within the meaning of the Private Securities Litigation Reform
Act of 1995 including statements regarding the safety and therapeutic potential of the Company’s iPSC-derived
NK cell product candidates, including FT596, its ongoing and planned clinical studies, and the expected clinical
development plans for FT596. These and any other forward-looking statements in this release are based on
management's current expectations of future events and are subject to a number of risks and uncertainties that
could cause actual results to differ materially and adversely from those set forth in or implied by such forward-
looking statements. These risks and uncertainties include, but are not limited to, the risk that results observed in
studies of its product candidates, including preclinical studies and clinical trials of any of its product candidates,
will not be observed in ongoing or future studies involving these product candidates, the risk that the Company
may cease or delay clinical development of any of its product candidates for a variety of reasons (including
requirements that may be imposed by regulatory authorities on the initiation or conduct of clinical trials, the
amount and type of data to be generated, or otherwise to support regulatory approval, difficulties or delays in
subject enrollment and continuation in current and planned clinical trials, difficulties in manufacturing or supplying
the Company’s product candidates for clinical testing, and any adverse events or other negative results that may
be observed during preclinical or clinical development), and the risk that its product candidates may not produce
therapeutic benefits or may cause other unanticipated adverse effects. For a discussion of other risks and
uncertainties, and other important factors, any of which could cause the Company’s actual results to differ from
those contained in the forward-looking statements, see the risks and uncertainties detailed in the Company’s
periodic filings with the Securities and Exchange Commission, including but not limited to the Company’s most
recently filed periodic report, and from time to time in the Company’s press releases and other investor
communications. Fate Therapeutics is providing the information in this release as of this date and does not
undertake any obligation to update any forward-looking statements contained in this release as a result of new
information, future events or otherwise.

Contact:
Christina Tartaglia
Stern Investor Relations, Inc.
212.362.1200
christina@sternir.com




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                                                                                      01234125678296ÿ



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 L>MMÿ<=>?@ANÿCBKL>ÿOP:                      A?HFBCBKRÿ>EEBL@LN                       EQKL<BHK@MB<NÿBKLMQIBKRÿ<@?R><BKRÿCHMBIÿ
5P@GH?B<Nÿ@Q<HMHRHQCÿ?>CQM<BKRÿBKÿ          5`H<>K<B@MÿEH?ÿ?>A>@<ÿIHC>ÿIQ>ÿ<HÿMH^ÿ    <QFH?Cÿ@KIÿKHK9HKLHMHRNÿBKIBL@<BHKC
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5:HWBLB<B>CÿBKLMQI>ÿ68VXÿUJYZXÿK>Q?H        5_>^>?ÿAM@N>?CXÿ?HHFÿ<HÿIBEE>?>K<B@<>ÿ    <NA>CDÿ>J>KÿE>^>?ÿ^B<=ÿCL@M@[M>ÿ
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  1 OP;<A33QÿH9@KI;HÿK;:4BH9<A9;ÿ9?A9ÿIRSCTCUSVWXWTMNÿ7;33Hÿ?AP;ÿI:=<4P;KÿAB9IT9@:4<ÿA79IPI98ÿABKÿ=;<HIH9;B7;ÿYZÿ\Y\]
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